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                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION

MARK ORTEGA, Individually and on                     §
Behalf of All Others Similarly Situated,             §
                                                     §
                        Plaintiff,                   §
                                                     §
v.                                                   §          SA-24-CV-351-JKP (HJB)
                                                     §
PRIORITY CONTRACTING AND                             §
ROOFING LLC, d/b/a Priority Roofing,                 §
                                                     §
                        Defendant.                   §

                                 ORDER SETTING VIDEO HEARING

         Before the Court is Plaintiff’s Motion for Leave to Conduct Class Certification Discovery

Prior to Entry of Final Judgment. (Docket Entry 10). Pretrial and scheduling matters in this case

have been re-referred to the undersigned pursuant to 28 U.S.C. § 636(b). (See Docket Entry 11.)

         It is hereby ORDERED that Plaintiff’s motion (Docket Entry 10) is set for a hearing on

June 31, 2024, at 1:30 P.M. The hearing will be held by video teleconference using the Zoom

video platform. On the designated date and time of the hearing, the parties are directed to join

ZOOMGOV meeting, at the following address:

         https://txwd-uscourts.zoomgov.com/j/16126018188
         Meeting ID: 161 2601 8188

         The parties are responsible for ensuring, in advance of the hearing, that their video

teleconference equipment is functioning and properly connects with the Court’s system. Parties

having     any    difficulties    should   contact       Courtroom   Deputy   Cindy   Miranda    at

cindy_miranda@txwd.uscourts.gov.

         The U.S. Clerk is directed to mail a copy of this Order by U.S. Certified Mail and Regular

Mail to Defendant at the address provided by Plaintiff in his motion. (See Docket Entry 10, at 6.)
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SIGNED on June 12, 2024.




                                    Henry J. Bemporad
                                    United States Magistrate Judge




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